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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,


       vs.
                                                               Criminal Nos. 23-10159-IT
JACK DOUGLAS TEIXEIRA

                       Defendant.




                    ASSENTED-TO MOTION FOR RULE 11 HEARING


       Now comes the United States, through undersigned counsel, and with the assent of the

defendant respectfully requests that the Court schedule this matter for a Rule 11 hearing on March

4, 2024, the date currently set for the Pretrial Conference.



February 29, 2024                                     Respectfully submitted,


                                                      JOSHUA S. LEVY
                                                      Acting United States Attorney

                                                      /s/ Nadine Pellegrini
                                                      NADINE PELLEGRINI
                                                      JARED C. DOLAN
                                                      JASON CASEY
                                                      Assistant United States Attorneys

                                                      MATTHEW G. OLSEN
                                                      Assistant Attorney General

                                                      /s/ Christina A. Clark
                                                      CHRISTINA A. CLARK
                                                      Trial Attorney
                                                      National Security Division
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                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed today through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).



                                                      /s/ Nadine Pellegrini
                                                      Nadine Pellegrini
                                                      Assistant United States Attorney


February 29, 2024




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